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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )                4:03CR3085
           v.                        )
                                     )
PHILLIP COLLEY,                      )
                                     )                   ORDER
                  Defendant.         )
                                     )



     IT IS ORDERED:

     Defendant’s motion to modify conditions of detention, filing

163, is denied.


     DATED this 19th day of May, 2005.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
